Case 4:18-cV-OO436 Document 17 Filed in TXSD on 06/01/18 Page 1 of 19

|N THE UN|TED STATES DlSTR|CT COURT
SOUTHER D|STR|CT OF TEXAS

 

Paul R. F. Schurnacher,
Plaintiff, pro Se, Civil Action No. 4:18~cv~00436
v.

DEFENDANT CHARLES BETTA'S
Capital Advan»ce Solutions L_LC, Charles A|V|ENDED N|OT|ON TO D|S|V||SS

Betta, and Dan Logan, PLA|NT|FF'S COMPLA|NT FOR
FA|LURE TO STATE A CLA|M UPON
Defendants. WH|CH REL|EF CAN BE GRANTED

 

 

Defendant Charles Betta, by and through the undersigned counsel of record,
respectfully subrnits this Arnended l\/lotion to Dismiss for Failure to State a Clairn Upon
VVhich Relief Can Be Granted, pursuant to Federa| Rule of Clvll Procedure 12(b)(6).
Specifically, defendant Charles Betta contends plaintiff Paul R. F. Schurnacher's Complaint
fails to allege facts sufficient to support a claim for relief under sections 47 LJ~S_C_)~ § 227(b)
and 47 Q._§._Q__ § 227(0) of the Telephone Consumer Protection Act, under Texas Code §
304.252, and against defendant Charles Betta. Defendant Charles Betta relies upon the
accompanying l\/lemorandum of LaW in support of this l\/lotion.

Respectfu||y submitted,

,,-"

By:

 

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Charles Betta

Dated: June 1,2018

 

Case 4:18-`cV-OO436 Document 17 Filed in TXSD on 06/01/18 Page 2 of 19

CERT|F|CATE OF SERV|CE

The undersigned counsel of record hereby certifies that on June 1 , 2018, a true and

exact copy of this l\/lotion was served upon the following individuals through the Court's

electronic filing system:

Paul R. F. Schurnacher

1512 Oakview Street
Bryan, Texas 77802
Plalntiff, Pro Se

Dated: June 1, 2018

KENT & MCBR|DE, P.C.

//` _
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Case 4:18-cV-OO436 Document 17 Filed in TXSD on 06/01/18 Page 3 of 19

TABLE OF CONTENTS

PREL|l\/l|NARY STATEl\/lENT ............................................................................. 5
STATE|V|ENT OF FACTS .................................................................................... 5
ARGUl\/lENT ...................................... . ................................................................. 7
A. STANDARD OF REV|EVV ........................................................................ 7
B. Defendant Charles Betta is not subject to personal jurisdiction in the
Southern District of Texas. ......................................................................... 8
C. Plaintiff Pau| R. F. Schumacher's Complaint fails to allege facts sufficient to
support a claim for relief under sections 47 U.S.C. § 227(b) and 47 U.S.C.
§227(0) ofthe Telephone Consumer Protection Act. .......................... . ..... 11
D. Plaintiff's Complaint must be dismissed because the Complaint fails to
alleges facts sufficient to support a claim for relief under Texas Code §
304.252. ..................................................................................................... 16
E. Plaintiff's Complaint must be dismissed because it fails to allege facts

sufficient to support a claim for reliefagainst defendant Dan Logan. ......... 17

CONCLUS|ON .................................................................................................. 19

 

Case 4:18-cV-OO436 Document 17 Filed in TXSD on 06/01/18 Page 4 of 19

TABLE OF AUTHOR|T|ES

Supreme Court Cases:

 

Ashcroft \/. /qbal,
556 U.S. 662, 129 S.Ct.1937, 1173 L. Ed. 2d 868 (2009) .......................... 7, 18

Be//At/. Corp. \/. TWomb/y,
550 U.S. 544,127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007) ................................... 7

Federal Court Cases:

Barans/<i \/. NCO Fin. Sys.,

2014 U.S. Dist. LEX|S 37880 ............................................................................ 15
Cantu v. P/at/'num Marketing Group,

2015 U.S. Dist. LEX|S 90824 .............................................................................. 9
Curry \/. Synchrony Bank, N.A.,

2015 U.S. Dist. LEX|S153131 .................................................................... 14, 15
Todd \/. Am. Mu/ti-C/'nema, /nc.,

222 F.R.D. 118, 121 (5th Cir. 2003) ................................................................ 7, 8

Trurnper \/. GE Capifa/ Reta/'/ Bank,
79 F. Supp. 3d 511 ............................................................................................ 15

Federal Statutes:

47 u.s.c.
§227 (a) ............................................................................................................ 12
§227(b) ............................................................................. 5,6,11,13,14,16,18
§227(0) ................................ . .................................................. 5,6,11,12,16,18

47 c.F.R.

§64.2305 .................................................................................................... 11,12

State Statutes:

Texas Code
§304.252 ................................................................................................ 5, 16, 18

Ru|es:

 

Federal Rules of Clvll Procedure
12(b)(6) ................................................................................................. 5, 7, 8, 18

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 5 of 19

PREL|M|NARY STATEMENT

Plaintiff Paul R. F. Schumacher filed a Complaint against defendants Capital
Advance Solutions LLC, Charles Betta and Dan Logan alleging he received a series of
telemarketing calls, Which attempted to sell him a business loan, despite the fact that
plaintiff is on the national "do not call" registry Plaintiff contends the alleged telemarketing
telephone calls constitute violations of sections 47 LJ_S_Q § 227(b) and 47 Q._S_.Q_ § 227(c)
of the Telephone Consumer Protection Act (hereinafter referred to as the "TCPA"), and
violations of Texas Code § 304.252, among other FCC and FTC violations.

HoWever, defendant Charles Betta is not subject to personal jurisdiction in the
Southern District of Texas. l\/loreover, plaintiff's Complaint falls to state facts sufficient to
support a claim for relief. Specifically, plaintiffs Complaint fails to allege facts from Which
a cause of action Wlthin sections 47 g_§_()_ § 227(b) and 47 LL_S_~Q_ § 227(c) of the TCPA
can be inferred Plaintiff's Complaint also fails to allege facts from Which a cause of action
under Texas Code § 304.252 can be inferred. Lastly, plaintist Complaint fails to allege
facts sufficient to support a cause of action against defendant Charles Betta.

Accordingly, plaintiff's Complaint should be dismissed pursuant to Federal Rule of
Civil Procedure 12(b)(6).

STATEMENT OF FACTS

1. On or about February 13, 2018, plaintiff Paul R. F. Schumacher filed a
Complaint against defendants Capita| Advanced Solutions LLC, Charles Betta and Dan
Logan alleging violations of sections 47 _L_J_._§_Q_. § 227(b) and 47 LJ_.S_._C_. § 227(c) of the

TCPA, and violations of Texas Code 304.252, among other FCC and FTC violations A

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 6 of 19

copy of plaintiffs Complaint is attached hereto as Exhiblt A.

2. Plaintist Complaint arises from a series often alleged telemarketing calls
received by plaintiff on his cellular telephone two-and-one~half years ago. See Exhibit A.

3. Plaintiff claims he determined "via investigative technique" that the alleged
telemarketing calls were made by or on behalf of defendant Capita| Advance Solutions
LLC. See ExhibitA.

4. Plaintiff contends the alleged telemarketing calls contained a prerecorded
message which attempted to sell him a business |oan, despite the fact that he is on the
national "do not cal|" registry and had no prior relationship with defendants Capital
Advance Solutions LLC, Charles Betta or Dan Logan. See Exhibit A.

5. Plaintiff contends the alleged telemarketing calls violated sections 47 _LJ.~S_Q
§ 227(b) and 47 LJ_._S_._Q_. § 227(c) ofthe TCPA, and Texas Code 304.252, among other FCC
and FTC violations See Exhibit A.

6. Plaintiff specifically alleges defendants spoofed their caller lD and failed to
properly identify their business at the start of the call or when asked. See Exhibit A.

7. Plaintiff asserts defendant Charles Betta is personally liability because he is
the President of Capital Advance Solutions LLC and he created and implemented "a
business strategy reliant on unlawful actions to [his] personal enrichment." See Exhibit A.

8. Plaintiff further alleges that causing or directing telephones calls to be made
in violation of the TCPA, and the TCPA's implementations and regulations results in
liability equal to actually placing the telephone calls See Exhibit A.

9. Plaintiff claims defendants mocked him when he followed~up with defendants

and inquired into their compliance with the TCPA. See Exhibit A.

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 7 of 19

10. As a result, plaintiff seeks statutory and treble damages of three thousand
five hundred dollars ($3,500.00) for each alleged telemarketing call. See Exhibit A.
L§QALA|_\|»__A_LX_SLS_»
Standard of Review
Federal Rule of Civil Procedure 12(b)(6) permits a party to file a motion to dismiss
for failure to state a claim upon which relief can be granted prior to filing a responsive
pleading. Specifical|y,_R_g_le12(b)(6)"permits a defendant to move to dismiss an action on
the grounds that the plaintiff failed to state a cognizable clalm" for relief. Todd v. Am. l\/lulti-

Cinema |nc., 222 F.R.D. 118, 121 (5th Cir. 2003).

 

B_ul_e 12(b)(6) "'tests the legal sufficiency of the claims advanced in the [p|aintiff's]
complaint." l,b_i”ol_. (citation omitted). "VVhile a complaint attacked by a B_u|e12(b)(6) motion
to dismiss does not need detailed factual allegations . . . a plaintiffs obligation to provide
the 'grounds' of his 'entitle[ment] to relief' requires more than labels and conclusions[.]"
Be|l Atl. Corp. v. Twomb|v1 550 U.S. 544, 555, 127 §QL 19551 1965, 167 l___.__l_£d 2d 929,
940 (2007). "To survive a motion to dismiss, a complaint must contain sufficient factual
matter, accepted as true, to 'state a claim to relief that is plausible on its face.'" A§f\grgft_
ngbg, 556 Q,_§_. 662, 678, 129 _S»_._Q_L1937, 1949, 173 _l:j_<L‘Zd 868, 884 (2009) (citation
omitted). "A claim has facial plausibility when the plaintiff pleads factual content that allows
the court to draw the reasonable inference that the defendant is liable for the misconduct
alleged." l_lo_id_. (citation omitted).

A court will grant a Bu_|_e_ 12(b)(6) motion to dismiss when "it is clear that no relief

could be granted under any set of facts that could be proved consistent with the

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 8 of 19

allegations." lo_d_d, supr_a_, 222 F.D.R. at 121 (citation omitted). "ln considering a motion
to dismiss under [B_uje] 12(b)(6), the Court must assume that all facts alleged in the
plaintiffs complaint are true, and must liberally construe those allegations in the pleader's
favor." |_bjd_. (citation omitted). A court's treatment of a _R_ul_e 12(b)(6) motion is therefore
"limited to the four corners of the complaint." l_t_)_id_. (citation omitted). "The appropriate
query concerning motions to dismiss under [_FSLE] 12(b)(6) is whetherthe plaintiff is entitled
to offer evidence in support of [his or] her claim." lbid. (citation omitted). "[T]o survive a
[_F§_u_l_e_] 12(b)(6) motion to dismiss, the plaintiff must plead specific facts, not mere
conclusory allegations." |g_. at 122 (citations omitted).
POlNT ONE

Defendant Charles Betta ls Not Subject To
Persona| Jurisdiction |n The Southern District Of Texas.

Plaintiff Paul R. F. Schumacher's Complaint must be dismissed against defendant
Charles Betta because Charles Betta is not subject to personal jurisdiction in the Southern
District of Texas. Plaintiff alleges Charles Betta is subject to personal jurisdiction in Texas
because, in his capacity as President of Capital Advance Solutions LLC, Charles Betta
conducted a telemarketing campaign in Texas, including in the Southern District of Texas
where plaintiff resides and where plaintiff received the alleged telemarketing calls See
Exhibit A. Plaintiff is incorrect

First, plaintiff has plead insufficient information within his Complaint to establish he
received telemarketing calls and that such calls were placed by or on behalf of defendant
Capital Advance Solutions LLC. Second, defendant Charles Betta did not call or direct

anyone to place telemarketing calls to plaintiff, and plaintiffs Complaint is void of facts that

8

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 9 of 19

indicate otherwise. v See the Affidavit of Charles Betta attached hereto as Exhibit B.

l\/loreover, even ifplaintlff demonstrates the alleged telemarketing calls were, in fact,
placed to his cell phone, that fact alone is insufficient to establish personal jurisdictionl |n
Cantu v. P|atinum l\/|arketinq Group, 2015 U.S. Dist. LEXIS 90824, the plaintiff brought suit
against the defendant for calls made to the plaintiffs cell phone in violation of the TCPA.
|n considering the plaintiffs motion for entry of default, the District Court for the Southern
District of Texas concluded it lacked personal jurisdiction over the defendant

The plaintiff argued the Court had personal jurisdiction overthe defendant because
the defendant knew the plaintiff was a resident of Texas when it called the plaintiff, as the
plaintiffs telephone number includes an area code associated with Texas. The plaintiff
further argued that placing a call to a cellular telephone number with a Texas area code
constitutes a sufficient minimum contact to establish personal jurisdiction because, by
placing the call, the defendant purposely directed itself towards activities in Texas or
purposely availed itself of the privileges of conducting activities in Texas. The Court
rejected these arguments

The Court reasoned that a cell phone preflx, unlike a land line prefix, is not
dispositive of residency, domicile or location of the cell phone owner. The Court
emphasized the increasing number of people who keep their cell phone numbers despite
moving from state to state, unfettering a number's area code from its owner's state of
residence The Court found there was no evidence to prove the defendant knew the
plaintiff was a Texas resident, and the fact that the defendant may have called a cell phone

number associated with a Texas area code did not, standing alone, establish the

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 10 of 19

defendant's purposeful availment of the benefits and protections of Texas lawl

Here, similarly, plaintiff argues personal jurisdiction over defendant Charles Betta
is proper because, in his capacity as President of Capital Advance Solutions LLC, Charles
Betta conducted a telemarketing campaign in Texas, where plaintiff resides and where
plaintiff received the alleged telemarketing calls However, as previously stated, plaintiff
has plead insufficient information to establish the alleged telemarketing calls were placed
by or on behalf of defendant Capital Advance Solutions LLC. Plaintiff has also plead
insufficient information to establish defendant Charles Betta placed the alleged
telemarketing calls or directed the alleged telemarketing calls to be made.

l\/|oreover, Charles Betta does not know plaintiff, nor where plaintiff lives Even if
plaintiff could prove the alleged telemarketing calls he received were placed by or on behalf
of defendant Capital Advance Solutions LLC, the prefix associated with plaintiffs cellular
telephone number, unlike the prefix associated with a land line, is not dispositive of
plaintiffs residence, domicile or location. Thus, a telephone call placed to plaintiffs cell
phone cannot be a predicate for personal jurisdictionl

Lastly, there is no evidence that defendant Charles Betta has any ties to the State
of Texas. To the contrary, Charles Betta does not own property in Texas or have any
business or personal contacts with the State of Texas. See Exhibit B. Thus, the Southern
District Court of Texas does not have personal jurisdiction over defendant Charles Betta.
Accordingly, Charles Betta respectfully requests the Court grant the within l\/lotion to

Dismiss plaintiffs Complaint

10

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 11 of 19

POlNT TWO

Plaintiff's Complaint Must Be Dismissed Because lt Fails
To Al|ege Facts Sufficient To Support A Claim For Relief Under
Sections 47 U.S.C. § 227(b) and 47 U.S.C. § 227(c)
Of The Telephone Consumer Protection Act.

 

Plaintiff Paul R. F. Schumacher's Complaint must be dismissed because the
Complaint fails to alleges facts sufficient to support a claim for relief under sections 47
LL§._C_ § 227(b) and 47 Q§,Q" § 227(c) of the TCPA.

First, plaintiff asserts defendants Capital Advance Solutions LLC, Charles Betta and
Dan Logan violated section 47 LJ_._S_§_. § 227(c) of the TCPA because defendants placed
or directed telemarketing calls to plaintiffs cellular telephone despite the fact that plaintiff
is on the national "do not call" registry and had no prior relationship with defendants

Section 47 Q_§~Q~ § 227(c) of the TCPA protects subscriber privacy rights. Section
47 Q_§._Q § 227(c)(1) explicitly protects the right of residential telephone subscribers1 "to
avoid receiving telephone solicitations to which they object." Section 47 LJ_.§_;_C_.§ 227(c)(3)
indicates the "operation of a single national database to compile a list of telephone
numbers of residential subscribers who object to receiving telephone solicitations and to
make that compiled list and parts thereof available for purchase" may be required as part
of the TCPA's regulations Section 47 LJ_._S__._Q § 227(c)(5) reserves a private right of action
for any person who has received more than one telephone call within any twelve~month
period in violation of the regulations prescribed within the TCPA.

Additionally, section 47 Q§_Q § 227(b)(1)(C)(i) makes it unlawful for any person "to

use any telephone facsimile machine, computer or other device to send, to a telephone

 

‘ 47 C.F.R. § 64.2305(d) defines "residential subscriber" to mean "a subscriber
to a telephone exchange service that is not a business subscriber."

 

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Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 12 of 19

facsimile machine, an unsolicited advertisement unless . . . the unsolicited advertisement
is from a sender with an established business relationship with the recipient." Section 47
_LLS___Q_ § 227(a)(2) defines "established business relationship" to include "a relationship
between a person or entity and a business subscriber . . ."2

Section 47 _L_J_._S_._Q_. § 227(c)(5) states:

A person who has received more than one telephone call within any
12-month period by or on behalf of the same entity in violation of the
regulations prescribed under this subsection may, if othen/vise
permitted by the laws or rules of court of a State, bring in an
appropriate court of that State ~-

(A) an action based on a violation of the regulations
prescribed under this subsection to enjoin such
violation,

(B) an action to recover for actual monetary loss from such
a violation, or to receive up to $500 in damages for
each such violation, whichever is greater, or

(C) both such actions

lt shall be an affirmative defense in any action brought under
this paragraph that the defendant has established and
implemented, with due care, reasonable practices and
procedures to effectively prevent telephone solicitations in
violation of the regulations prescribed under this subsection.
lf the court finds that the defendant willfully or knowingly
violated the regulations prescribed under this subsection, the
court may, in its discretion, increase the amount of the award
to an amount equal to not more than 3 times the amount
available under subparagraph (B) of this paragraph.

ln the present case, plaintiffs Complaint alleges plaintiff received ten telemarketing

 

2 47 C.F.R. § 64.2305(b) defines "business subscriber" to mean "a subscriber to
telephone exchange service for business"

12

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 13 of 19

calls, which attempted to sell him a business loan, from defendant Capital Advance
Solutions LLC, despite the fact that plaintiff is on the national "do not call" registry and had
no prior relationship with Capital Advance Solutions LLC, or Charles Betta and Dan Logan.
Plaintiff does not, however, provide any support for his contention that Capital Advance
Solutions LLC placed or directed the alleged telemarketing calls to plaintiff. lnstead,
plaintiff merely states that "via investigative technique," he was able to successfully identify
Capital Advance Solutions LLC as the business behind the calls

Plaintiff does not elaborate on what his "investigative technique" was, or what
information he.obtained that linked Capital Advance Solutions LLC to the telemarketing
calls Notab|y, plaintiff fails to indicate on what telephone number he received the calls
or from what telephone number the calls were received Plaintiff provides no support for
his contention that he is on the national "do no call" registry or that defendant Charles
Betta knew, or had any reason to know, plaintiff was on said registry. The limited
information provided in plaintiffs Complaint is not enough to infer a plausible claim for
relief. §_6_§ A§L\_C_r_O_E, M, 556 LJ_;_S_; at 678, 129 _S_.__C_)_t_. at 1949, 173 L._E_QL 2d at 884.

Second, plaintiff asserts Charles Betta violated section 47 _U_§._C_ § 227(b) of the
TCPA because the alleged telemarketing calls contained a prerecorded message

Section 47 LJ_.§__C__ § 227(b) ofthe TCPA places restrictions on the use of automated
telephone equipment Specifically, section 47 Q§&§ 227(b)(1)(B) makes it unlawful "to
initiate anytelephone call to any residential telephone line using an artificial or prerecorded

voice to deliver a message without the prior express consent ofthe called party, unless the

13

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 14 of 19

call is initiated for emergency purposes is made solely pursuant to the collection of a debt
owed to or guaranteed by the United States, or is exempted by rule or order by the
Commission under paragraph (2)(B)[.]" Section 47 Q._S_.C_ § 227(b)(3) permits any person
or entity, if otherwise permitted by law or court rule, to bring an action, including an action
to recover monetary damages for a violation of section 47 LJ_.§._(_)_. § 227(b) of the TCPA.

ln the present case, plaintiff states the alleged telemarketing calls placed to his
cellulartelephone contained a prerecorded message However, plaintiff does not indicate
how he came to concluded that the alleged messages were prerecorded

|n Currv v. Svnchronv Bank, N.A., 2015 U.S. Dist. LEX|S 153131, attached hereto
as Exhibit B, the plaintiff claimed the defendant "attempted to collect a debt by placing
multiple calls to her cellular telephone" and, based upon the timing and frequency of said
telephone calls, the calls were placed using an automatic telephone dialing system. l_d_. at
1 to 2. ln response, the defendant moved to dismiss the plaintiffs Complaint, and argued
the plaintiff failed to allege facts sufficient to support a claim under the TCPA. |_d_. at 2. The
defendant specifically argued the plaintiffs allegations were insufficient to make it plausible
that the defendant utilized an automatic telephone dialing system to call the plaintiff ibid

The plaintiff argued in opposition that she "need not allege any facts to support an
allegation that an [automatic telephone dialing system] was used by [the] defendant", but
was only required to allege the calls were placed using such a system. Ld_. at 4. The Fifth
Circuit disagreed and held the plaintiffs "bare allegation that [the] defendant used an

[automatic telephone dialing system was] not enough." lbid

14

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 15 of 19

The Fifth Circuit ultimately granted the defendant's motion to dismiss and reasoned
that while a plaintiff "cannot be expected to provide specific details about the type of dialing
systems used to deliver the calls they receive, it is entirely reasonable to demand that [a
plaintiff] provide sufficient information about the timing and content ofthe calls they receive
to give rise to a reasonable belief that an [automatic telephone dialing system] was used."
Ld_. at 5 to 6 (citation omitted).

Other Federal Courts have made similarfindings See Trumperv. GE Capital Retail
Ban_k, 79 F. Supp. 3d 511, attached hereto as Exhibit C, (granting the defendant's motion
to dismiss because, among other reasons the plaintiffs Amended Complaint said "nothing
about the calls [the plaintiff] received" and "provided no factual allegations suggesting that
. . . the voice on the other end of the line was prerecorded"); and see Baranski v. NCO Fin.
§§Ls., 2014 U.S. Dist. LEX|S 37880, attached hereto as Exhibit C, (dismissing the plaintiffs
Complaint because, among other reasons the Complaint contained no factual allegations
permitting the inference that the defendant used an automatic telephone dialing system).

Here, although plaintiffs Complaint lists the time and date each alleged
telemarketing call was received, the Complaint is completely devoid of any information with
respect to the content of the alleged telemarketing calls from what telephone number
plaintiff received the calls or that the calls received were from Capital Advance Solutions
LLC and placed by or at the direction of defendant Charles Betta.

Similar to the plaintiff in _C_u_rry, plaintiff Paul R. F. Sohumacher "has not provided

sufficient contextual details to determine whether [he] spoke to a human or merely heard

15

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 16 of 19

a recording upon picking up the phone." g at 5 (citation omitted). Additiona|ly, like the
plaintiff in Qu_rry, if plaintiff Paul R.F. Schumacher spoke to a human, he "has not indicated
whether [he] heard a human voice immediately upon picking up [his] phone, or whether
there was a significant period of 'dead air', which is generally indicative of the use of [an]
automated dialer." lb_i_o_l_. (citation omitted).

Like the facts presented by the plaintiff in _Q_u_rry, plaintiff Paul R. F. Schumacher has
failed to plead facts from which the Court can infer defendant Charles Betta actually placed
or directed the alleged telemarketing calls to be placed to plaintiff, or that the alleged
telemarketing calls contained a prerecorded message attempting to sell a business loan.

Accordingly, defendant Charles Betta respectfully requests the Court grantthe within
l\/lotion to Dismiss because plaintiffs Complaint fails to state facts sufficient to support a
claim for relief under sections 47 LJ__S_Q_ § 227(b) and (c) of the TCPA.

POlNT THREE
Plaintiff's Complaint Must Be Dismissed Because lt Fails
To Al|ege Facts Sufficient To Support A Claim For Relief
Under Texas Code § 304.252.

Plaintiff's Complaint must be dismissed because the Complaint fails to alleges facts
sufficient to support a claim for relief under Texas Code § 304.252.

Texas Code Chapter 304 pertains to telemarketing Subchapter B is related to the
Texas No~Call List, Subchapter C is related to facsimile transmissions and Subchapter D
is related to caller identification. The specific portion of the code to which plaintiff cites in

his Complaint outlines how the above~mentioned subchapters may be enforced by the

16

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 17 of 19

Attorney General.
Texas Code § 304.252 states:
(a) Except as provided by Section 304.253, the attorney general may
investigate violations of Subchapters B, C, and D and file civil
enforcement actions seeking:

(1) a civil penalty in an amount not to exceed $1,000 for each violation,
except as provided by Subsection (b);

(2) injunctive relief; and
(3) attorney's fees

(b) lfthe court finds the defendant wilfully or knowingly violated Subchapter
B, C, or D, the court may increase the amount of the civil penalty to an
amount not to exceed $3,000 for each violation.

(c) A violation of Subchapter B, C, or D is subject to enforcement action by

the attorney general's consumer protection division under Sections 17.47,
17.58, and 17.61.

Texas Code § 304.252 is therefore not relevant to plaintiffs individual ability to
recover damages from defendant Charles Betta. Accordingly, Charles Betta respectfully
requests this Court grant the within l\/lotion to Dismiss because plaintiffs Complaint fails
to state facts sufficient to support a claim for relief under Texas Code § 304.252.

POlNT FOUR
Plaintiff's Complaint Must Be Dismissed Because lt Fails
To Al|ege Facts Sufficient To Support A Claim For Relief
Against Defendant Charles Betta.
Plaintiff's Complaint must be dismissed because the Complaint fails to allege facts

sufficient to support a claim for relief against defendant Charles Betta.

Wlthin his Complaint, plaintiff states defendant Charles Betta is personally liable in

17

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 18 of 19

his capacity as the President of defendant Capital Advance Solutions LLC because
Charles Betta created and implemented "a business strategy reliant on unlawful actions

to [his] personal enrichment." See ExhibitA. Plaintiff's Complaint also alleges that causing

 

or directing telephones calls to be made in violation of the TCPA and the TCPA's
implementations and regulations results in liability equal to actually placing the telephone
calls See ExhibitA.

As previously stated "[t]o survive a motion to dismiss a complaint must contain
sufficient factual matter, accepted as true, to 'state a claim to relief that is plausible on its
face."' A_s_ff_cro_ft, supra 556 LJ_.§_. at 678, 129 _S._L at 1949, 173 l__._E_d_. 2d at 884.
l\/loreover, "[a] claim has facial plausibility when the plaintiff pleads factual content that
allows the court to draw the reasonable inference that the defendant is liable for the
misconduct alleged." j_bi_d

|n the present case, plaintiffs Complaint states nothing more than general
assumptions about defendant Charles Betta and the role he played with respect to the
alleged telemarketing calls plaintiff received Plaintiff does not state any facts to
substantiate his presumption that Charles Betta created and implemented a business
strategy "reliant on unlawful actions to [his] personal enrichment", nor does plaintiff state
any specific facts to corroborate his notion that Charles Betta caused or directed calls to
be made in violation of the TCPA. The statements made regarding the individual liability

of Charles Betta constitute nothing more than bald assertions void of supporting evidence

Additionally, plaintiff alleges defendants mocked him when he "followed-up with

18

 

Case 4:18-cv-OO436 Document 17 Filed in TXSD on 06/01/18 Page 19 of 19

defendants and asked about their TCPA compliance," but fails to state with whom he
spoke or the contents and outcome of the conversations

Accordingly, plaintiffs Complaint must be dismissed because the Complaint fails to
alleges facts sufficient to support a claim for relief against defendant Charles Betta.

CONCLUS|ON

Forthe foregoing reasons defendant Charles Betta respectfully requests the Court
grant the within l\/|otion to Dismiss for Failure to State a Claim Upon Which Relief Can Be
Granted, pursuant to Federal Rule of Civil Procedure 12(b)(6), as defendant Charles Betta
is not subject topersonal jurisdiction in Texas and as plaintiff Paul R. F. Schumacher's
Complaint fails to allege facts sufficient to support a claim for relief under sections 47
Q_§Q § 227(b) and 47 LJ_._§__Cwl § 227(c) of the TCPA, under Texas Code § 304.252, and
against defendant Charles Beta.

Respectfully submitted

KENT & MCBR|DE, P.C.

By:

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Dated: June 1, 2018

19

 

